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PROPOSED COUNSEL FOR DEBTORS

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                      §
                                                  §
          DEBTORS1                                §                Jointly Administered


              DEBTORS’ MOTION FOR LEAVE TO FILE UNDER SEAL
         CERTAIN PORTIONS OF AND EXHIBITS TO DEBTORS’ RESPONSE TO
           CHRISTOPHER COX MOTION TO LIFT STAY [DOCKET NO. 63]

           National Rifle Association of America (the “NRA”) and Sea Girt LLC, the debtors and

    debtors in possession (together, the “Debtors”) in the above-captioned bankruptcy cases

    (the “Bankruptcy Cases”), file this Motion (the “Motion”) For Leave to File Under Seal Certain

    Portions of and Exhibits to Debtors’ Response to Christopher Cox’s Motion to Lift Stay (the

    “Lift Stay Motion”), and in support, state as follows:



1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


    DEBTORS’ MOTION FOR LEAVE TO FILE UNDER SEAL CERTAIN PORTIONS
    OF AND EXHIBITS TO DEBTORS’ RESPONSE TO CHRISTOPHER COX MOTION TO LIFT STAY                     PAGE 1
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                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction over the Motion to Seal under 28 U.S.C. §§ 157 and

1334. The Motion is a core matter within the meaning of 28 U.S.C. § 157(b)(2).

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory and other bases for the relief requested herein are 11 U.S.C. §§ 105(a)

and 107(b), Rule 9018 of the Federal Rules of Bankruptcy Procedure, and Rule 9077-1 of the Local

Bankruptcy Rules of the United States Bankruptcy Court for the Northern District of Texas.

                                    RELIEF REQUESTED

       4.      Debtors seek an order allowing certain matters related to an arbitration with

Christopher Cox in their Response to the Motion to Lift Stay, as well as certain exhibits to the

Declaration in support of the Response.

       5.      The parties in arbitration agreed to use the International Institute for Conflict

Prevention & Resolution’s Rules for Non-Administered Arbitration (2018) (“CPR Rules”).

       6.      CPR Rule 18 provides (emphasis added):

       Unless the parties agree otherwise, the parties, the arbitrators and CPR shall treat
       the proceedings, any related discovery and the decisions of the Tribunal, as
       confidential, except in connection with judicial proceedings ancillary to the
       arbitration, such as a judicial challenge to, or enforcement of, an award, and unless
       otherwise required by law or to
       protect a legal right of a party.

       7.      The matters that the Debtors seek to file under seal are potentially covered by this

Rule, and Mr. Cox has taken the position that they are covered by the Rule.

       8.      To err on the side of compliance with the potentially applicable CPR rule, Debtors

have publicly filed a redacted copy of the Response and supporting Declaration, restricting only

as much information as is necessary to protect information and matters that are arguably protected

by the CPR Rules.
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                                ARGUMENTS AND AUTHORITIES

       9.       The Bankruptcy Code, Bankruptcy Rules, and Local Rules authorize the Court to

limit the disclosure of confidential information. Section 107(b) of the Bankruptcy Code provides,

in relevant part, as follows:

                On request of a party in interest, the bankruptcy court shall . . . (1)
                protect an entity with respect to a trade secret or confidential
                research, development, or commercial information; or (2) protect a
                person with respect to scandalous or defamatory matter contained in
                a paper filed in a case under this title . . . .




 11 U.S.C. § 107(b)(2). Section 105(a) of the Bankruptcy Code codifies the Court’s inherent

 equitable powers and empowers it to “issue any order, process, or judgment that is necessary or

 appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

        10.     Bankruptcy Rule 9018 defines the procedures by which a party may move for relief

under 11 U.S.C. § 107(b), providing:

                On motion or on its own initiative, with or without notice, the court
                may make any order which justice requires (1) to protect the estate
                or any entity in respect of a trade secret or other confidential
                research, development, or commercial information, [or] (2) to
                protect any entity against scandalous or defamatory matter
                contained in any paper filed in a case under the Code . . . .

Fed. R. Bankr. P. 9018. Furthermore, Local Rule 9077-1(a) provides, in relevant part, that “[a]

party may file under seal any document that a statute or rule requires or permits to be so filed.”

Local Bankr. R. N.D. Tex. 9077-1(a).




 DEBTORS’ MOTION FOR LEAVE TO FILE UNDER SEAL CERTAIN PORTIONS
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       11.    The relief requested herein is identical to the same relief requested by Cox in

connection with the Lift Stay Motion [See Docket No. 65] which was granted by the Court [See

Docket No. 74].

       12.    Based on the foregoing authority and the CPR Rules, Debtors request that this

Motion be granted and that the Court enter the proposed order submitted with this Motion.



 Dated: February 8, 2021.
                                            Respectfully submitted,

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                                            PROPOSED COUNSEL FOR DEBTORS



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 8th day of February 2021 a true and correct
 copy of the foregoing was served via first class U.S. mail on the parties named on the attached
 Master Service List.
                                             /s/ Douglas J. Buncher
                                            Douglas J. Buncher
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                             CERTIFICATE OF CONFERENCE

        I hereby certify that on February 8, 2021, the undersigned conferred with Christopher Cox’s
counsel, John Harding, concerning the foregoing motion and he indicated that Cox is unopposed
to the relief requested in this Motion

                                         /s/ Douglas J. Buncher




 DEBTORS’ MOTION FOR LEAVE TO FILE UNDER SEAL CERTAIN PORTIONS
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                          In re: Sea Girt LLC - Case No. 21-30080
              In re: National Rifle Association of America - Case No. 21-30085

                                  MASTER SERVICE LIST

                                   Debtor/Debtor’s Counsel


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                                         U.S. Trustee

 Office of the United States Trustee
 Attn: Lisa Young
 Earle Cabell Federal Building
 1100 Commerce Street, Room 976
 Dallas, TX 75242

                                       Secured Creditors

 Atlantic Union Bank
 Attn: Andrew Kalin
 1800 Robert Fulton Drive, Suite 100
 Reston, VA 20191
 Email: andrew.kalin@atlanticunionbank.com

                               20 Largest Unsecured Creditors

 Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
 1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
 Oklahoma City, OK 73118-1438                   Fairfax, VA 22030




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 New York, NY 10016

 Under Wild Skies                               Valtim Incorporated
 201 N. Union Street, Suite 510                 P.O. Box 114
 Alexandria, VA 22314                           Forest, VA 24551

 Quadgraphics                                   Communications Corp of America
 N63W23075 Hwy. 74                              Attn: Judy Reid
 Sussex, WI 53089                               13195 Freedom Way
                                                Boston, VA 22713

 Membership Advisors Public REL                 Salesforce.Com, Inc.
 11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
 Fairfax, VA 22030                              San Francisco, CA 94105

 Mercury Group                                  Speedway Motorsports, Inc.
 1601 NW Expressway, Suite 1100                 P.O. Box 600
 Oklahoma City, OK 73118                        Concord, NC 28026

 Image Direct Group LLC                         Google
 200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
 Frederick, MD 21701                            Mountain View, CA 94043-1351

 TMA Direct, Inc.                               United Parcel Services
 12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
 Manassas, VA 20109                             Philadelphia, PA 19170

 Membership Advisors Fund Raising               Stone River Gear, LLC
 11250 Waples Mill Road, Suite 310              P.O. Box 67
 Fairfax, VA 22030                              Bethel, CT 06801

 Krueger Associates, Inc.                       CDW Computer Centers, Inc.
 105 Commerce Drive                             P.O. Box 75723
 Aston, PA 19014                                Chicago, IL 60675

                                      Government Agencies


 Internal Revenue Service                       Office of Attorney General (NY)
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